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RETURN OF SERVICE

UNITED STATES DISTRICT COURT
District of New Jersey

Case Number: 3:24-CV-09172-MAS-

RLS
Plaintiff: KEVIN BEASLEY ET AL | | | II | MI
vs.

Defendant: MICHAEL FANELLI eee
For:

SHAN CHEN, ESQ

MAZZOLA LINDSTROM LLP

1350 AVENUE OF THE AMERICAS
NEW YORK, NY 10019

Received by DIRECT PROCESS to be served on MICHAEL FANELLI, 1 DENISE CT, MANALAPAN, NJ 07726.
|, John McGuinness, do hereby affirm that on the 29th day of October, 2024 at 6:20 pm, I:

POSTED by attaching a true copy of the SUMMONS IN A CIVIL CASE, COMPLAINT, CORPORATE DISCLOSURE
STATEMENT, DISCLOSURE STATEMENT PURSUANT TO FED.R.CIV.P.7.1 (A)(2), EXHIBIT A AND CIVIL
COVER SHEET with the date and hour of service endorsed thereon by me, to a conspicuous place on the property
of the within named person's RESIDENCE at the address of: 1 DENISE CT, MANALAPAN, NJ 07726.

Additional Information pertaining to this Service:

10/29/2024 6:19 pm Service made by POSTING for MICHAEL FANELLI at 1 DENISE CT, MANALAPAN, NJ
07726. No answer. Multiple cars were in driveway. Multiple lights were on inside. Doorbell was working, but no
one would answer. Attempting to evade. Documents posted in accordance to RULE: 4:4-4, 2.1.3. Mode of
Delivery PEOPLES TRUST CO. vs KOZUCK, 98 N.J. Super. 235 (Law Div. 1967), aff d.o.b. 103 N.J. Super. 151
(App. Div.), certif.. den. 53 N.J. 78 (1968), cert. DEN. 395 U.S. 966 (1969).

10/28/2024 8:14 am Attempted service at 1 DENISE CT, MANALAPAN, NJ 07726. No lights are on multiple cars in
the driveway. Video doorbell is working. Talk to neighbor who confirmed entity does live here.

10/22/2024 2:54 pm Attempted Service: MICHAEL FANELLI, 1 DENISE CT, MANALAPAN, NJ 07726. No answer
at door, Landscaper confirmed somebody was home. A male answered the video doorbell confirmed that Michael
did live there and then asked me why | am here. | explained my reason for being here and became irate and said
Michael is somewhere traveling. He does not know where and he does not know when he'll be back. Four cars
parked in the driveway neighbor next-door confirmed Michael does live at #1 but would not provide any further
information.

| declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is True and correct.

j~ 10/30/2024

John McGuinness

Date

DIRECT PROCESS
22 Southern Blvd
Suite 103
Nesconset, NY 11767
(631) 406-6989

Our Job Serial Number: DPR-2024001997
Service Fee:

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